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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                            CRIMINAL NUMBER:
               v.
                                                            1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,                                             FILED UNDER SEAL

       Defendant.


           DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
                   MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”),

through counsel, respectfully moves for leave of Court to file under seal Exhibits 1 and 2 to the

parties’ Joint Pretrial Statement. See ECF 372. In support of this motion, Concord states as

follows:

       Exhibits 1 and 2 to the parties’ Joint Pretrial Statement consists of the parties’ respective

exhibit lists, with the other side’s objections noted.        When Concord filed under seal its

Opposition to the Government’s Motion in Limine to Admit Documents, ECF No. 344-1, and

included the government’s exhibit list as an attachment, the government stated that it does not

feel its information should be publicly available at this time. As such, out of an abundance of

caution, Concord respectfully seeks to file the parties’ respective exhibit lists under seal.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the
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decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       A proposed order is filed herewith.

Dated: March 2, 2020                                Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                               By: /s/ Eric A. Dubelier
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2020, I caused a true and correct copy of the foregoing

Motion for Leave to File Under Seal to be filed under seal via CM/ECF and transmitted to the

following counsel of record via electronic mail:


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